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                Case No.       17-80194-CR -M DDLEBR O OK SY Y           N ON


  U NITED STA TES O F AM ER ICA

         VS.

  TO VAH LYNN JASPER SO N,
  a/k/a G'
         rara,''

                       Defendant.
                                                 /

                                     FA C TUAL PR OFFER

         DefendantTokahLynnJasperson,a/k/aççrl-ara''(hereinafterdithedefendanf'),hercounsel,
  and the U nited States agree that,had this case proceeded to trial,the United Statesw ould have
  proven the follow ing factsbeyond a reasonable doubt,and thatthe follow ing facts are true and
  correctand aresuftkienttosupportapleaofguilty;

                The defendant and her co-defendant,Alan Martin Bostom ($çBostom''),were
  residents ofW ellington,Florida,in Palm Beach County,in the Southern DistrictofFlorida. The
  co-defendants share a fam ilialrelationship,thatis,the defendantisBostom 's daughter.
           2.     In July 2010,Bostom filed and caused the filing ofdocumentswith the Florida
  Secretary ofStatetocreateSsAngelsandA ngelm en,LLC.''ln A ugust2010,thenam eofthelim ited
  liability com pany w as changed from StA ngels and Angelm en,LLC''to tçA ngel's H ouse LLCN''
  d/b/adsAngel'sRecovery''(hereinafterreferredtoasliAngel'sRecovery'').
         3.      The defendant later fled and caused the filing of docum ents with the Florida
  Secretary of State listing herself as the 100% owner of A ngel's R ecovery. Despite the
  representation to the Secretary ofState regarding the change in ow nership,Bostom continued to
  be involved in them anagem entofA ngel'sRecovery and continued to participate in itsprofits.
         4.       The defendantand Bostom also filed and caused the filing ofdocum ents w ith the
  Florida Secretary ofStateto createa separate LLC nam ed lûAngel'sRecovely,LLC.'' O n June 3,
  2014,the defendant,on behalfofAngel'sRecovery,LLC,filed and caused thefiling ofafictitious
  nam e registration with the Florida Secretary of State,proyiding notice thatA ngel's Recovery,
  LLC,owned the fictitious nam e CsGold River Labs.'' The filing gave Angel's Recovery,LLC
  ownership ofthe nam e GEGold RiverLabs''tlzrough D ecem ber31,2019.
           5.    Angel's Rtcovery had m ultiple locations in Palm Beach County,in the Southern
  D istrictofFlorida,including 11576 Pierson Road,W ellington,Florida,and 222 ProfessionalW ay,
  W ellington,Florida.Angel'sRecovery purportedto operateasa licensed Etsubstanceabuse service
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      provider''orSstreatm entcenter,''thatis,itoffered clinicaltreatm entservices forpersonssuffering
      from alcoholand drug addiction.Angel'sRecovery offered medication-based treatm entforopioid
      addiction,thatis,treatmenton a t'nonresidentialbasiswhich utilizeldj methadone or other
      approved m edication in com bination w ith clinicalservices to treatpersons who are dependent
      uponopioiddrugs.''Fla.Admin.Codej65D-30.002(16)(m).
             6.      At different tim es,the defendant and Bostom m anaged al1 aspects of Angel's
      Recovery,including hiring and firing personnel,adm itting and discharging patients,and m aking
      financialdecisions.ThedefendantandBostom w erelisted asownersand ChiefExecutive Officers
      of Angel's Recovery on the licensing documents filed with the D epartm ent of Children and
      Families($çDCF'').
             7.     To be properly licensed by the State ofFlorida,A ngel'sRecovery w asrequired to
      have a çtmedicaldirectors''thatis,çça physician licensed underChapter458 or459,Florida
      Statutes),whohasbeendesignatedtooverseeallmedicalservicesofagsubstanceabusetreatment)
      provider and has been given the authority and responsibility for m edical care delivered by a
      provider.Fla.Admin.Codej6517-30.002(37).
             8. ThedefendantandBostom hiredapersonwith initialsKRK (hereinafterreferred
      to astroctor//1') to serveasthemedicaldirectorofAngel'sRecovery. Doctor//1had two
      reportedreprimandsfrom theFloridaBoard ofM edicine,wasthesubjectofathirddisciplinary
      proceeding,and w asactively abusing prescription opioidsand cocaine.

              9.     During the period of his employm ent, Doctor //1 frequently pre-signed
      prescriptionsthatw ere used to dispense controlled substancesto patientsofA ngel'sRecovery by
      otherem ployees.

             10. A fter severalyears of contested proceedings,on February 17,2015,the Florida
      Board of M edicine issued a FinalO rder suspending D octor #1's m edicallicense for four years.
      Following the suspension,the defendant and Bostom continued to em ploy D octor //1 as the
      m edical director of A ngel's Recovery,know ing that D octor #1's license had been suspended.
      AAer his license w as suspended,and until at least Septem ber 2,2015,D octor #1 continued to
      exam ine and treatsom epatientsatAngel'sRecovery,continued to prescribe controlled substances
      and bodily fluid testing to Angel's Recovery patients, and continued to provide pre-signed
      prescriptions that allowed other employees of Angel's Recovery to unlawfully provide
      prescriptionsforcontrolled substancesand bodily fluidtesting to Angel'sRecovery patlents. The
      bodilyfluidtestingthatwasprescribedbyDoctor#1(orothersusingprescriptionspre-signedby
      Doctor#1)wasnotproperlyprescribedormedicallynecessarybecause:(i)Doctor//1signedthe
      prescriptions and statem ents of m edical necessity for bodily fluid testing when he had not
      examinedthepatientspriortoprescribingthetesting;(ii)Doctor#1wasnotalicensedmedical
      doctoratthetimehesignedtheprescriptionsandstatementsofmedicalnecessity;and(iii)thetest
      results were nottim ely reviewed or used by a doctor or treatm entprofessionalin developing or
      m odifying thepatients'treatm entplans.

             11.    Substance abusetreatm entfacilitiesin Floridathatofferinpatienttreatm entoroffer
      outpatienttreatmentwith a residentialhousing componentare subjectto specialized licensing
      requirem ents.M any insurancecompaniesdo notprovidecoverageforinpatientt'reatment(other
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      thaninpatientdetoxification)orforresidentialhousingcomponents,sopatientsarerequiredtopay
      fortheirow n housing w hile attending outpatienttreatm ent.
              12. To secure a steady stream ofpatients,the defendantand Bostom established illegal
      kickback/bribe relationshipswith ownersofrecovery residences,comm only referred to as(ssober
      hom es,''in exchange for referring the sober hom es'insured residents to Angel's Recovery for
      treatm ent. The defendant and Bostom provided the m oney used to purchase or rent several
      properties used as ûçsober hom es,''although the purchase agreem ents or leases would bear the
      namesofthirdparties.

             13.    RedemptionSoberHouse,lnc.(EERedemption'')wasamulti-bedresidenceinPalm
      Beach County,Florida,located at243 N .E.13th Street,D elray Beach,Florida,thatpurported to
      operate asa soberhom e. According to corporate recordsfiled w ith the State ofFlorida,M ichael
      Bondswasthe presidentofRedem ption.M ichaelBondsreferred Redem ption residentsto Angel's
      Recovery and,in exchange,directly orindirectly receivedmorethan $700,000in paymentsfrom
      Angel'sRecovery.

             l4.    A person with initialsA .J.owned two m ulti-bed residencesin Palm Beach County,
      Florida,thatpurportedto operateassoberhomes.A.T.W ayLLC (tW .T.W ay'')waslocatedat
      120SW 13thAve,BoyntonBeach,Florida,andCarterCareRecovery(GçcarterCare'')waslocated
      at 315 SW 7th A venue,Boynton Beach,Florida. A .J.received m oney from the defendants to
      purchase theproperties used asA .T.W ay and Carter Care. A .J.referred residents ofA .T.W ay
      and Carter Care to Angel'sRecovery and,in exchange,directly or indirectly received m ore than
      $150,000 inpaymentsfrom Angel'sRecovery.
              15. The defendantsand theirco-conspiratorsrequired the soberhom eresidentsto travel
      to Angel's Recovery m ultiple tim es perweek to attend treatm entsessions and to subm itto drug
      testing,which the defendants and co-conspirators could billto the lnsurance Plans. To this end,
      the defendantssentvansto the soberhom esto transportthe residentsto Angel'sRecovery.

             16.    TheU .S.D epartm entofHea1th and H um an Services,SubstanceA buse and M ental
      Hea1thServicesAdministration,CenterforSubstanceAbuseTreatment(C&SAMI-ISA'')wastasked
      with establishing and im plem enting a comprehensive program to im prove the provision of
      treatmentandrelatedservicestoindividualswithrespecttosubstanceabuseanbwithprotecting
      thelegalrightsofindividualswhoaresubstanceabusers.42U.S.C.j290aa.
             17.    Essubstanceabuse''w asdefined asEstheabuseofalcoholorotherdrugs.'' 42 U .S.C.
      j290cc-34(4).EçTreatment''meantifthemanagementandcareofapatientsufferingfrom alcohol
      ordrug abuse,acondition w hich isidentified ashaving been caused by thatabuse,orboth,in order
     toreduceoreliminatetheadverseeffectsuponthepatient.''42C.F.R.j2.11.
              18. In addition to substance abuse treatm ent program s, SAM H SA prom ulgated
     guidelines for sober hom es. Sober hom es generally did not provide m edical care or clinical
     services to theirresidents. W hen properly m anaged,soberhom es operated as alcoholand drug
     free living environm ents for individualsattempting to abstain from alcoholand drugs,including
     providing a peersupportnetwork ofindividuals in recovery.
             19.    Substance abuse services in Florida were governed by the çil-lal S.M archm an
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  AlcoholandOtherDrugServicesAct''(tttheMarchmanAct''),F1.Stat.j397.301.Amongstother
  thinjs,theMarchmanActmadeitunlawfulforanypersonoragencytoactasasubstanceabuse
  servlceproviderunlessitwasproperly licensed.F1.Stat.j397.40141);Fl.Admin.Codej651)-
  300.003(1)(a). UndertheM archman Act,private substance abuse serviceproviders'policies
  regardingpaymentforserviceshadtocomplywithfederalandstatelaw.Fl.Stat.j397.431
         20.    D CF w astasked w ith regulating and licensing substance abuse service providers.
  Fl.Stat.j397.321.
                 TheM arcluuan A ctalso provided guidelinesforsoberhom es/recovery residences,
  w hich w ere defined as $Ea residentialdw elling unit,orotherform ofgroup housing thatis offered
  oradvertised ...asa residencethatprovidesa peer-supported,alcohol-free,and drug-free living
  environment.''Fl.Stat.j397.311436).
         22. lnsurancecoverage forsubstanceabuse treatm entand testing w asavailable through
  a num berofavenues,including federalhealth care benefitsprogram slikethe FederalEm ployees
  HealthBenefitsProgram (ITEHBP''),healthplanssponsoredbyprivateemployers(includingthe
  NationalRailroad PassengerCorporation (ssAmtrak'')employeehealth carebenefitplans),and
  health plansoffered directly by private insurance companies. Health plans sponsored by private
  employersaregovernedbytheEmployeeRetirementIncomeSecurityActof1974(çERlSA''),29
  U.S.C.jj1001,etseq.,whilethosesponsoredby govenlmentalemployersandcertainothersare
  exemptedfrom ERISA'Sjurisdiction.
         23. Both ERISA and IAOn-ERISA health benefitplans,including Affordable Care A ct
  plans,w ere offered or adm inistered by private insurance companies,including Blue CrossY lue
  Shield (:% CBS''),Aetna,Cigna BehavioralHealth,CignaHealth & Life lnsurance Company,
  United BehavioralHealth,and United Hea1th Group.
         24. A ngel's Recovery subm itted claim s for reimbursem entto m ultiple health benefit
  plans,including the FEHBP plans,Am trak'sestablished plans,and privateER ISA and nOn-ER-ISA
  healthbenefitplans(ointlyreferredtoasS6theInsurancePlans'').
         25.    The lnsurance Plans w ere çthealth care benefitprogram s,''as defined in Title 18,
  United States Code,Section 24(b),thatis ts
                                           public orprivate plans or contracts,affecting
  com m erce,underwhich any m edicalbenefit,item orservice isprovided to any individual.''
          26. Regardlessofthe type oflnsurance Plan held by a patient,the am ountofcoverage
  and term s and conditions of billing and paym ent w ere governed by the terms of the patient's
  insurance docum ents, and the insurance company adm inistering the plan had the authority,
  responsibility,and discretion to make coverage determ inationsand toprocessand m akepaym ents
  on claim s.
         27. TheST loridaPatientBrokering Act,''m adeitafelony offenseforanyperson,health
  careprovider,orhealth care facility,including any state licensed substance abuse serviceprovider,
  to::<(a)Offerorpayanycommission,bonus,rebate,kickback,orbribe,directlyorindirectly,in
  cash or in kind,or engage in any split-fee arrangem ent,in any form whatsoever,to induce the
  referralofpatientsorpatronagetoorfrom ahealthcareproviderorhealthcarefacility;(b)Solicit
  orreceive any com m ission,bonus,rebate,kickback,orbribe,directly orindirectly,in cash orin
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  kind,or engage in any split-fee arrangem ent, in any form w hatsoever, in return for referring
  patientsorpatronagetoorfrom ahealthcareproviderorhealthcarefacility;(c)Solicitorreceive
  any com m ission,bonus,rebate,kickback,or bribe,directly or indirectly,in cash or in kind,or
  engage in any split-fee arrangem ent,in any form whatsoever, in return for the acceptance or
  acknowledgementoftreatmentfrom ahealthcareproviderprhealthcarefacility;or(d)Aid,abet,
  advise,orotherwiseparticipateintheconductprohibitedunderparagraph(a),paragraph (b),or
  paragraph (c).''Fla.Stat.j817.505.
        28. Thedefendantsandco-conspiratorsprovidedkickbacksandbribes,in the form of
  freeorreducedrent,insuranceprem ium paym ents,and otherbenefitsto individualswith insurance
  who agreed to reside atthe soberhom esand attend drug treatm ent,which included regularand
  random drugtesting(typicallythreeormoretimesperweek),sothatmembersoftheconspiracy
  could billthe testing and treatm entto the residents'lnsurance Plans. To disguise kickbacksand
  bribesto patients,the defendantsused a separate entity nam ed AngelW atch Foundation,lnc.,to
  pay insuranceprem ium sforpatientsofA ngel'sRecovery sothatAngel'sRecovery could continue
  to billthe patients'insurance com panies fortreatm entexpenses.
         29.    Underthe termsofthe insurance policiesand consistentwith state and federallaw,
  the Insurance Planswere only responsible forclaims forservices that:(a)were tfmedically
  necessary''andactuallyrendered,(b)wereprovidedbyaproperlylicensedserviceprovider,and
  (c)compliedwiththetermsofthehealthcareplans,includingtheobligationtopayco-insurance
  and deductibles.

          30. Unlike treatm entfacilities,soberhom esgenerally did notprovide m edicalcare or
  clinicalservicesthatcould be reim bursed by health insurance. W hile there w ere federaland state
  guidelines,soberhom es were notlicensed orfunded by state orlocalgovem m ents. However,ifa
  treatm ent facility offered residentialservices,those services had to be licensed by DCF. Since
  sober hom es w ere m erely places to live, legitim ate sober hom es generated incom e to cover
  expensesthroughthecollectionofweeklyormonthlyrentpaidbytheirresidents,justaswithany
  otherlandlord-tenantrelationship.

        31. Bodily fluid testing could be used to detectrecentdrug oralcoholuse by a client
  by conducting various tests on a client'surine,blood,and saliva. Urine A nalysis or urinalysis
  ((dUA'')testing complexityranged from screening tests- also known aspointofcare CTOC'')
  testing - w hich provided instantresults,to confirm atory testing,which was sentto a laboratory,
  form ore complex analysis.Laboratoriescould also conductcom plex analysison blood and saliva
  sam ples.

          32. Like other m edical tests, bodily fluid testing could be billed and reim bursed
  pursuanttotheterm softhe insurancepolicy.TheInsurancePlanswereonly responsibleforclaim s
  fortesting thatwastçm edically necessary,''actually perform ed,properly prescribed,and conducted
  by aproperly licensed serviceprovider,and conducted and billed in compliance w ith theterm s of
  thehealth careplan,including the obligation to pay co-insurance.

         33.    The defendants and co-conspirators prepared and caused the preparation and
  subm ission of fratldulent insurance claim forms attesting thatthe billed amounts qualified for
  reimbursement,thàtis,(i)the claims falsely stated thatthe testing and treatmenthad been
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  m edically necessary when,in truth and in fact,som e ofthe claim ed testing and treatmenthad not
  beennecejsary;(ii)theclaimsfailedtodisclosethatthepatientswerereferredtoAngel'sRecovery
  inexchangeforkickbacksandbribes;(iii)theclaimsfailedtodisclosethatsomepatientshadnot
  paidtheirco-paymentsanddeductibles;(iv)theclaimsfailedtodisclosethatsomeofthepatients'
  insurancepremiumswerepaidbythedefendantsthemselves;and(v)theclaimsfailedtodisclose
  thatD octor#1'sm edicallicensew assuspended and,accordingly,the licenseofA ngel'sR ecovery
  was invalid because itdid nothave a properly licensed m edicaldirector.
                                              BEN JAM W G.GREEN BERG
                                              LRW TED STA TES ATTORNEY


  D ate:                                 By:
                                              A.MARIE VILLAFAVA
                                              A SSISTAN T UNITED STATES            O
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  Date:     /' /2                       By:                                 *
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